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Union Station Domination -Train Concourse Back-Lit Spectaculars                     'iW
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Branded Cities LED Spectacular- Harmon Corner Digital                               'iW
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Total Outdoor Wall #IL0001- Dan Ryan Expy WL 1850' N/0 1-55
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8-F Advertising I J-D Tennessee Whiskey
                                                  Unit# 0000006-0, New York Avenue, NW & 4th Street, NW F/N
                                                        Washington DC- Walls-        11-




CBS Outdoor hereby certifies the accuracy of this electronically generated report, which may be relied on as if it were signed by hand and attested to by a duly authorized signatory.

BMS.ner Proof of Performance                                                                                               Page 5 of5
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                    ClearChanner
                                UTDOOR
Performance Report                                                                                                                                   Tampa
Date:                 8/4/2011                                                   Agency:                      Brown Forman Media Services
Advertiser:           Brown Forman Beverages                                     CCO Contract:               0009913664
Brand:                Jack Daniels                                               Client Contract:            01/1106220002 00000
Product Type:        Bulletin                                                   Account Exec:                Cindy McCrackin
                     (Bulletin 14x48}                                                                        Dianne Curry

Report To:           Kay Wells
                     Brown Forman Media Services                                Vinyl Received:              7/5/2011
                     3310 West End Ave Ste 600
                                                                                Quantity Received:            2
                     Nashville, TN 37203
                                                                                 Program Start Date:         7/25/2011
                     USA
                                                                                Number Of Units:             2

                                                                                 Plant Avg. Daily Effective Circulation :
                                                                                 Bulletin : 44,490
                                                                                 Member of The Traffic Audit Bureau:
                                                                                 Last Audit 01/01/2011




The information in this report is according to Clear Channel Outdoor records and complies with the American Association of Advertising
Agencies' completion report standards. if you need any additional information regarding the execution of this contract, please contact your
representative. We appreciate your business and hope our service to you is satisfactory.
Location          Description                                                                                               FAC               DEC
009296            US 19 WS 700ft S/0 Beckett Way F/N M2                                                                     N                 46.7

Design            B/Jack Daniels Declaration 14x48 2011                           Completion Date      7/29/2011            Size       14 x48




Signature
Clear Channel Photographic Service Policy: Within 5 business days of the completion of the initial posting or any copy changes, Clear Channel
will provide unaltered 1 close-up and 1 approach photo for each permanent bulletin, wallscape, or premiere product location. Clear Channel will
provide unaltered 1 closeMup and 1 approach photo for each start location for rotary bulletins. Clear Channel will not photo each rotation cycle
unless copy changes. Clear Channel will provide 1 unaltered c!ose~up photo for each poster/transit sheller/other format campaign design. Print
sizes provided wi!! either be 3"x5" or4"x6". Additional photography requests will be billed to the advertiser. Service Charges: Location
Photography $15 ea.; Slide Transparency $14 ea.; Prints: 8"x10" at $18 ea.; 5"x7" at $14 ea.; 4"x6" at $1.25 ea.; 3"x5" at $1 ea.
Attached is a detailed list of all locations posted for this campaign including actual date of installation and design of each location.




                                                     Tampa~ 5555 Ulmerton Rd, Clearwater, Fl 33760

                         Tel. (727} 571~2224Fax. (727) 561M9094 Clearchanneloutdoor.com A Clear Channel Worldwide Company
Page 5                                                                                                                                                8/4/2011


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Red Star Wallscape #610- LaSalle Street n/o
Ohio Street WL




                                Posting Completed: 11/3/14

REWARDING CONNECTIONS                                                                          JDPI000458
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                                Posting Completed: 11/3/14                               JDPI000460

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Branded Cities Wallscape #14- Westgate City Cent
in Waterdance Plaza




                               Posting Completed: 11/3/14                                JDPI000462

REWARDING CONNECTIONS                                                                 rapportww com
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                               Posting Completed: 10/27/14
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Legends Digital Spectacular #13- 7th St. and
Jefferson St




                               Posting Completed: 10/27/14                                JDPI000464

REWARDING CONNECTIONS                                                                  rapportww.com
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Legends Spectacular #6H -Jefferson Stand 3rd
Street NW Corner of Jefferson St. Gara e




                               Posting Completed: 10/24/14
                                                                                          JDPI000465

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~ Clear Channel Outdoor
Performance Report                                                                                                                                   San Antonio
Date:                   3/23/2015                                                          Agency:                         Brown Forman Media Services
Advertiser:             Brown-Forman Worldwide Corporation                                 CCO Contract:                   SAT0051851
                                                                                           Client Contract:                #4609 #4423
Product Type:          Bulletin                                                            Account Exec:                   Cindy McCrackin
                       (Bulletin 14x48)
Report To:             Brown Forman Media Services
                       1600 Division Street, Ste 540                                       Vinyl Received:                 2/24/2015
                       Nashville, TN 37203                                                 Quantity Received:              1
                       USA
                                                                                           Program Start Date:             3/9/2015
                                                                                           Number Of Units:                2

The TAB Out of Home Ratings"' data is proprietary intellectual property owned by the Traffic Audit Bureau lor Media Measurement, Inc, and is to be used
only by the recoplent solely and exclusively lor its planning and /or buying of out-of-home media advertisements.@ Copyright 2013, All Rights Reserved




The information in this report is according to Clear Channel Outdoor records and complies with the American Association of Advertising
Agencies' completion report standards. If you need any additional Information regarding the execution of this contract, please contact your
representative. We appreciate your business and hope our service to you is satisfactory.
Loca tion         TABID              Description                                                                                  FAC            In Market Imps (Weekly)
004423            320956             1-35 N NS 1Oft W/0 Brooklyn F/W- 1                                                           w              538,872

Design             One Proud Franchise Deserves Another                                     Completion Date          3/1 1/2015           Size           14 x48




Signature
Clear Channel Photo Services Policy: Within 5 business days of the completion of the initial posting or any copy changes, Clear Channel will
provide: 1 unaltered close-up and 1 unaltered approach photo for each permanent bulletin, wallscape or premiere product; 1 unaltered close-up
and 1 unaltered approach photo for each start location for rotary bulletins (no photos for each rotation cycle unless copy changes); 1 unaltered
close-up photo for each poster/transit shelter/other design. Additional photo requests incur charges, billed to the advertiser. Charges are as
follows: Street locations, $30/each; freeway locations, $40/each; night shots, $75/location. Extra location photos include close-up and/or
approach shot. wh ere applicable. Schedule for additional photography at discretion of local sales and/or marketing manager(s).
Attached Is a detailed l ist of all locations posted for this campaign including actual date of Installation and design a t each location.




TAB PROFILE: DMA- San Antonio, TX Universe 18+ yrs                                                                                                            JDPI000466
                                                    San Antonio - 3714 N. Pan Am Expwy., San Antonio, TX 78219
                            Tel. (210) 227-3451 Fax. (210) 227-5024 Clearchanneloutdoor.com A Clear Channel Worldwide Company
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     2012 JD Holiday Label "Under The Tree" OOH 224 x 80 LR Page 5




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        2012 JD Holiday Labei"Short Season" OOH 224 x 80 LR Page 1




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Legends Digital Spectacular #13- 7th St. and
Jefferson St




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Branded Cities Wallscape #14- Westgate City Cent . n
in Waterdance Plaza




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